        Case 1:24-cv-03132-VM           Document 51        Filed 03/14/25     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  CAROL LESH, individually and on behalf             Case No. 1:24-cv-03132-VM
  of all others similarly situated,

                                 Plaintiff,          Hon. Victor Marrero

            v.

  CABLE NEWS NETWORK, INC.,

                                 Defendant.

                     SUGGESTION OF DEATH UPON THE RECORD

       Pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure, the undersigned counsel

hereby informs this Court and other parties of the death of Plaintiff Carol Lesh during the pendency

of this action. Ms. Lesh’s counsel has been retained by a new client for this matter and intends to

file an amended complaint to substitute representatives of the putative class by no later than April

14, 2025.

Dated: March 14, 2025                         Respectfully submitted,

                                              BURSOR & FISHER, P.A.

                                              By: /s/ Yitzchak Kopel
                                                     Yitzchak Kopel

                                              Yitzchak Kopel
                                              Alec M. Leslie
                                              Max S. Roberts
                                              1330 Avenue of the Americas, 32nd Floor
                                              New York, NY 10019
                                              Telephone: (646) 837-7150
                                              Facsimile: (212) 989-9163
                                              Email: ykopel@bursor.com
                                                     aleslie@bursor.com
                                                     mroberts@bursor.com

                                              Attorneys for Plaintiff


                                                 1
